1
     2525 EAST CAMELBACK ROAD
2    SUITE 300
     PHOENIX, ARIZONA 85016
3    TELEPHONE: (602) 255-6000
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4    Mark S. Bosco
     State Bar No. 010167
5    Leonard J. McDonald
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6    David W. Cowles
     State Bar No. 021034
7    Attorneys for Movant
     14-00690
8
                     IN THE UNITED STATES BANKRUPTCY COURT
9
                                 FOR THE DISTRICT OF ARIZONA
10   IN RE:                                                         No. 2:14-bk-01011-DPC

11   Raymond Coy Lindblom and Kathleen Lindblom                     Chapter 11
12                                                                  NOTICE OF APPEARANCE
     Debtors.
                                                                    AND REQUEST FOR NOTICE
13

14

15
              U.S. Bank National Association, as successor Trustee to State Street Bank and Trust
16
     Company as Trustee for Bear Stearns Mortgage Securities Inc., Trust Series 1997-4
17
     Bondholders, by and through its undersigned attorneys, hereby gives notice of its appearance in
18
     these proceedings, and requests that the name and address of its attorneys be added to the
19
     mailing list in this matter, and that all future notices which creditors are entitled to receive be
20
     mailed to said attorneys.
21
              DATED this 5th day of February, 2014.
22
                                                            Respectfully submitted,
23
                                                            TIFFANY & BOSCO, P.A.
24
                                                            BY /s/LJM #014228
25                                                               Mark S. Bosco
                                                                 Leonard J. McDonald
26                                                               David W. Cowles
                                                                 Attorneys for Movant



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                                      Main Document    Page 1 of 2
1
     COPY of the foregoing mailed
2
     February 5, 2014 to:

3    Raymond Coy Lindblom and Kathleen Lindblom
     2527 E. Fairview Circle
4    Mesa, AZ 85204
     Debtors
5
     Matthew Lee White*
6
     1138 N. Alma School Road # 101
7    Mesa, AZ 85201
     Attorney for Debtors
8
     Office of the U.S. Trustee
9    230 North First Avenue, Suite 204
     Phoenix, AZ 85003
10
     Trustee
11
     U.S. Trustee
12   230 North 1st Avenue, Suite 204
     Phoenix, AZ 85003-1706
13
     First-Citizens Bank & Trust Company
14   c/o Gust Rosenfeld, PLC
15
     One East Washington Street, Suite 1600
     Phoenix, AZ 85004-2553
16
     Zions First Nationsl Bank
17   c/o May Potenza Baran & Gillespie, PC
     201 North Central Avenue, 22nd Floor
18   Phoenix, AZ 85004-0608
19
     Barclays Bank Delaware
20   125 S. West St.
     Wilmington, DE 19801
21
     Chase
22   P.O. Box 15298
     Wilmington, DE 19850
23

24
     Discover Financial Services LLC
     P.O. Box 15316
25   Wilmington, DE 19850

26   By: Marykay Mobley




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